              Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 1 of 23



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                 )
 Myrtle Keen, on behalf of herself and all       )
 others similarly situated, et al.               ) Judge:
                                                 )
      Plaintiffs,                                ) Case No.
                                                 )
 v.                                              )              Class Action Complaint
                                                 )
 COMMUNITY HEALTH SYSTEMS,                       )               Jury Trial Demanded
 INC., et al.                                    )
                                                 )
      Defendants.                                )
                                                 )


                                   CLASS ACTION COMPLAINT

         NOW COMES Plaintiff, Myrtle Keen (“Plaintiff”), by and through her undersigned counsel,

individually and on behalf of all others similarly situated, and hereby files this Class Action Complaint

against Community Health Systems, Inc. (“CHS”) and Community Health Systems Professional

Services Corporation (“CHSPSC”) (collectively “Defendants”). In support thereof, Plaintiff states

and alleges as follows:

                                     NATURE OF THE ACTION

         1.         Plaintiff brings this nationwide Class Action Complaint on behalf of herself and all

other individuals whose patient identification data was stolen from the computer network of

Defendants (the “Data Breach”).

         2.         As a result of Defendants’ failure to protect this highly sensitive and confidential

information, the patient identification data of Plaintiff and the members of the proposed Class,

including but not limited to patient names, addresses, birthdates, telephone numbers and Social

Security numbers, was obtained by unknown third parties.

         3.         Defendants had a duty to protect the private, highly sensitive, confidential patient
                                                    1
             Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 2 of 23



identification data of Plaintiff and the members of the proposed Class.

        4.        Defendants agreed to protect the private, highly sensitive, confidential patient

identification data of Plaintiff and the members of the proposed Class.

        5.        Defendants failed to safeguard and prevent vulnerabilities from being taken

advantage of in their computer system.

        6.        Intruders first gained access to Defendants’ computer network in April, 2014.

However, Defendants did not confirm the Data Breach until July, 2014. Defendants then waited until

August, 2014 to begin sending out notifications about the Data Breach.

        7.        Plaintiff and the proposed Class members have a possessory interest in their patient

identification data and an interest in it remaining private because that information, including incredibly

private and sensitive information such as Social Security numbers, has substantial value not only to

Plaintiff and the proposed Class members, but to also criminals who traffic in such information.

        8.        Because of the real threat of immediate harm, as well as the intrinsic value of the

stolen information itself, Plaintiff and the proposed Class members have suffered an immediate and

present injury to their privacy and possessory interest as a direct result of Defendants’ negligent failure

to safeguard Plaintiff’s and the proposed Class members’ confidential patient identification data, as

well as the breach of their agreements to do the same.

        9.        Moreover, Plaintiff and the proposed Class members are at an increased and

imminent risk of becoming victims of identity theft crimes, fraud and abuse, and have been forced to

spend considerable time and money to protect themselves as a result of Defendants’ conduct.

                                            THE PARTIES

        10.       Defendant Community Health Systems, Inc. is one of the nation’s leading operators

of general acute care hospitals. The organization’s affiliates own, operate, or lease 206 hospitals in 29

states with approximately 31,100 licensed beds.

                                                    2
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 3 of 23



        11.      Defendant Community Health Systems, Inc. is headquartered at 4000 Meridian

Boulevard, Franklin, Tennessee 37067.

        12.      Defendant Community Health Systems Professional Services Corporation provides

management, consulting, and information technology services to independent community hospitals

and health systems, as well as to certain clinics and physician practice operations.

        13.      Defendant Community Health Systems Professional Services Corporation operates

as a subsidiary of Defendant Community Health Systems, Inc.

        14.      Defendant Community Health Systems Professional Services Corporation is

headquartered at 4000 Meridian Boulevard, Franklin, Tennessee 37067.

        15.      Plaintiff, Myrtle Keen, is an adult individual residing in Warren, Ohio. Within the

previous five (5) years, Plaintiff has been treated by Defendants’ affiliated health care providers.

                                    JURISDICTION AND VENUE

        16.      This Court has original jurisdiction over this action under the Class Action Fairness

Act (“CAFA”), 28 U.S.C. § 1332(d)(2). The amount in controversy in this action exceeds $5,000,000,

exclusive of interest and costs, and there are more than 100 members of the Class defined below, the

majority of whom reside in different states than Defendants.

        17.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Defendants

regularly transact business in this District, and a substantial part of the events giving rise to this

Complaint arose in this District.

                                     FACTUAL BACKGROUND

        18.      Plaintiff and the proposed Class members were required to provide their health care

providers with highly sensitive, private, and confidential patient identification data, including their full

legal names, addresses, birthdates, telephone numbers and Social Security numbers in order to receive

the healthcare they required.

                                                    3
            Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 4 of 23



          19.      Through their subsidiary and other relationships with Plaintiff and the proposed

Class members’ health care providers, Defendants came into possession of the patient identification

data of Plaintiff and the proposed Class members.

          20.      The patient identification data of Plaintiff and the proposed Class members, while

under the control of Defendants, was accessed without the authorization of Plaintiff and the proposed

Class members.

          21.      Although intruders first gained access to Defendants’ computer network in April

2014, Defendants did not confirm the Data Breach until July 2014.

          22.      Defendants then waited until August 2014 to begin sending out notifications about

the Data Breach.

          23.      On August 18, 2014, Defendants filed a Form 8-K with the United States Securities

and Exchange Commission (“SEC”) that provided the first notification of the Data Breach. The filing

stated:

          In July 2014, Community Health Systems, Inc. (the “Company”) confirmed that its
          computer network was the target of an external, criminal cyber-attack that the
          Company believes occurred in April and June, 2014. The Company and its forensic
          expert, Mandiant (a FireEye Company), believe the attacker was an “Advanced
          Persistent Threat” group originating from China who used highly sophisticated
          malware and technology to attack the Company’s systems. The attacker was able to
          bypass the Company’s security measures and successfully copy and transfer certain
          data outside the Company. Since first learning of this attack, the Company has worked
          closely with federal law enforcement authorities in connection with their investigation
          and possible prosecution of those determined to be responsible for this attack. The
          Company also engaged Mandiant, who has conducted a thorough investigation of this
          incident and is advising the Company regarding remediation efforts. Immediately prior
          to the filing of this Report, the Company completed eradication of the malware from
          its systems and finalized the implementation of other remediation efforts that are
          designed to protect against future intrusions of this type. The Company has been
          informed by federal authorities and Mandiant that this intruder has typically sought
          valuable intellectual property, such as medical device and equipment development
          data. However, in this instance the data transferred was non-medical patient
          identification data related to the Company’s physician practice operations and affected
          approximately 4.5 million individuals who, in the last five years, were referred for or
          received services from physicians affiliated with the Company. The Company has
          confirmed that this data did not include patient credit card, medical or clinical
                                                    4
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 5 of 23



       information; the data is, however, considered protected under the Health Insurance
       Portability and Accountability Act (“HIPAA”) because it includes patient names,
       addresses, birthdates, telephone numbers and social security numbers. The Company
       is providing appropriate notification to affected patients and regulatory agencies as
       required by federal and state law. The Company will also be offering identity theft
       protection services to individuals affected by this attack. The Company carries
       cyber/privacy liability insurance to protect it against certain losses related to matters
       of this nature. While this matter may result in remediation expenses, regulatory
       inquiries, litigation and other liabilities, at this time, the Company does not believe this
       incident will have a material adverse effect on its business or financial results. 1

       24.      On August 19, 2014, Defendants published a “Data Breach Notification” on their

public website. The Notification stated:

       On behalf of Community Health Systems Professional Services Corporation
       (“CHSPSC”), I want to express sincere regret to the patients of affiliated physician
       practices and clinics whose data was accessed in a foreign-based cyber-attack of our
       computer network. We value the trust you have placed in us for your care and it is our
       priority to ensure those who were affected by this attack are notified about the breach
       and have their questions answered. If you were affected by the data breach, you will
       receive a letter with more information and a toll-free number to call to learn about the
       free identity theft protection offered to affected patients. The following notice
       contains more details about the breach, measures we are taking to notify you, and how
       we are improving the way we protect health your information.

       In July 2014, Community Health Systems Professional Services Corporation
       (“CHSPSC”) confirmed its computer network was the target of an external criminal
       cyber-attack in April and June 2014. CHSPSC, a Tennessee company, provides
       management, consulting, and information technology services to certain clinics and
       hospital-based physicians in this area.

       CHSPSC believes the attacker was an “Advanced Persistent Threat” group originating
       from China, which used highly sophisticated malware technology to attack CHSPSC’s
       systems. The intruder was able to bypass the company’s security measures and
       successfully copy and transfer some data existing on CHSPSC’s systems.

       Since first discovering the attack, CHSPSC has worked closely with federal law
       enforcement authorities in connection with their investigation of the matter. CHSPSC
       also engaged an outside forensic expert to conduct a thorough investigation and
       remediation of this incident. CHSPSC has implemented efforts designed to protect
       against future intrusions. These efforts include implementing additional audit and
       surveillance technology to detect unauthorized intrusions, adopting advanced
       encryption technologies, and requiring users to change their access passwords.

1
 Defendants’ August 18, 2014 SEC filing is available at C:\Users\Office\Documents\ Community
Health\SEC Filing.htm.
                                                   5
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 6 of 23



       The majority of patients of clinics and hospital-based physicians affiliated with
       CHSPSC were not affected by this breach. Individuals whose information was taken
       in this cyber-attack will be mailed a letter informing them about the data breach and
       how to enroll in free identity theft protection and credit monitoring services. The data
       taken includes patients’ names, addresses, birthdates, social security numbers, and, in
       some cases, telephone numbers, and the names of employers or guarantors. However,
       to the best of CHSPSC’s knowledge, NO credit card information was taken and NO
       medical or clinical information was taken. CHSPSC recommends that you remain
       vigilant for incidents of fraud and identity theft by reviewing your credit report and
       accounts for unauthorized activity.

       Anyone with questions or concerns about this cyber-attack may contact 1-855-205-
       6951 toll-free beginning Wednesday, August 20, 2014, at 8:00 a.m. central time. For
       information on preventing identity theft or to report suspicious activity, contact the
       Federal Trade Commission at 1-877-438-4338 or get free information at www.ftc.gov. 2

       25.      Defendants did not send Plaintiff correspondence notifying her of the Data Breach

until August 29, 2014.

       26.      Defendants’ failure to notify Plaintiff and proposed Class members of the Data

Breach in a reasonable time deprived Plaintiff and proposed Class members of critical time to protect

themselves from identity theft.

       27.      Nationally, approximately four and one-half (4.5) million individuals have had their

patient identification data misappropriated as a result of the breach of Defendants’ computer network.

       28.      Defendants had a duty to protect the private, highly sensitive, confidential patient

identification data of Plaintiff and the proposed Class members.

       29.      The patient identification data that was copied and transferred from Defendants’

computer systems is considered protected under the Health Insurance Portability and Accountability

Act of 1996 (“HIPAA”), 29 U.S.C.A. §§ 1181 et seq. because it includes patient names, addresses,

birthdates, telephone numbers and Social Security numbers.

       30.      HIPAA required Defendants to “reasonably protect” the copied data from “any



2
 Defendants’ August 19, 2014, Data Breach Notification is available at http://www.chs.net/ media-
notice-august-19-2014/.
                                                 6
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 7 of 23



intentional or unintentional use or disclosure.” 45 C.F.R. § 164.530(c)(1)(2)(i). Federal regulations

also required Defendants to “have in place appropriate administrative, technical, and physical

safeguards to protect the privacy of protected health information.” Id. at § 164.530(c)(1).

        31.      Defendants violated HIPAA by failing to maintain the confidentiality of Plaintiff’s

and the proposed Class members’ protected patient identification data.

        32.      Defendants failed to safeguard and prevent vulnerabilities from being taken

advantage of in their computer systems.

        33.      As a result of Defendants’ failure to safeguard and prevent vulnerabilities from being

taken advantage of in their computer systems, unauthorized third parties were able to bypass

Defendants’ inadequate security measures and successfully copy and transfer the patient identification

data of Plaintiff and the proposed Class members.

        34.      The 2013 Identity Fraud Report released by Javelin Strategy & Research reports that

in 2012 identity fraud incidents increased by more than one million victims and fraudsters stole nearly

$21 billion. The study found 12.6 million victims of identity fraud in the United States in the past

year, which equates to 1 victim every 3 seconds. The report also found that nearly 1 in 4 data breach

letter recipients became a victim of identity fraud, with breaches involving Social Security numbers to

be the most damaging.

        35.      To assist companies in protecting the security of sensitive personal and financial

information, the Federal Trade Commission (“FTC”) has issued a publication entitled “Protecting

Personal Information: A Guide for Business” (the “FTC Report”). In this publication, the FTC

provides guidelines for businesses on how to develop a “sound data security plan” to protect against

crimes of identity theft.

        36.      To protect the personal sensitive information in their files, the FTC Report instructs

businesses to follow the following guidelines:

                                                  7
            Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 8 of 23



       a)       Keep inventory of all computers and laptops where the company stores sensitive data;

       b)       Do not collect personal information if there is no legitimate business need. If there is

                a legitimate business need, only keep the information as long as necessary;

       c)       Use Social Security numbers only for required and lawful purposes and do not store

                these numbers unnecessarily, such as for an employee or customer identification

                number;

       d)       Encrypt the personal information, particularly if the sensitive information is shipped

                to outside carriers or contractors. In addition, the business should keep an inventory

                of all the information it ships;

       e)       Do not store sensitive computer data on any computer with an Internet connection

                or access unless it is essential for conducting the business;

       f)       Control access to sensitive information by requiring that employees use “strong”

                passwords; and

       g)       Implement information disposal practices that are reasonable and appropriate to

                prevent unauthorized access to personally identifying information.

       37.       Defendants violated federal guidelines and failed to meet current data security

industry standards by failing to ensure adequate security over Plaintiff’s and the proposed Class

members’ patient identification data and by failing to retain Plaintiff’s and the proposed Class

members’ patient identification data in a secure and safe manner.

       38.       By way of illustration and without limitation, on information and belief, Defendants

failed to properly encrypt data, failed to establish adequate firewalls to handle a server intrusion

contingency, and failed to implement adequate authentication protocol to protect the confidential

information contained in its computer network.

       39.       On information and belief, the Data Breach also resulted from Defendants’ pattern

                                                   8
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 9 of 23



of un-patched systems and inadequate vulnerability management.

       40.        Plaintiff and the proposed Class members and Defendants agreed that, as part of the

health care services provided to Plaintiff and the proposed Class Members, Defendants would protect

the patient identification data of Plaintiff and the proposed Class members.

       41.        Specifically, Defendants have published a “Code of Conduct,” available at

http://www.chs.net/wp-content/uploads/PDF/2014%20Code%20of%20Conduct.pdf (last visited

Nov. 20, 2014).

       42.        Defendants’ Code of Conduct contains at “Statement of Beliefs” which provides, in

relevant part, as follows: “We have adopted the following Statement of Beliefs that summarizes the

commitments of the organization’s constituents to our patients , colleagues, physicians, and the

communities served. … [W]e are dedicated to compliance with all federal, state, and local laws, rules,

and regulations, including privacy and security of patient health information .” See Defendants’

Code of Conduct at 2 (emphasis added).

       43.        Further, the provisions of Defendants’ Code of Conduct concerning the

“Confidentiality of Patient Information” provide that:

       When a patient enters a CHS affiliated facility, a large amount of personal,
       medical, and insurance data is collected and used to satisfy information needs
       including the ability to make decisions about a patient’s care. We consider
       patient information highly confidential. Colleagues are expected to take care to
       protect the privacy of individually identifiable health information at all times. All of
       the facilities within the organization have specific policies describing patient
       confidentiality and release of information rules that conform to federal, state, and local
       laws governing the release or disclosure of health information.

See Defendants’ Code of Conduct at 10 (emphasis added).

       44.        Moreover, Defendants’ health care providers have published patient resources

regarding “Patient Rights & Responsibilities” and “HIPAA Compliance.” By way of example, on its

public website, Brandywine Hospital, which is owned and operated by Defendants, assures patients,

such as Plaintiff and members of the proposed Class, that they have the right to “[p]ersonal privacy”
                                                  9
           Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 10 of 23



and “privacy of your health information.” See http://www.brandywine hospital.com/brandywine-

hospital/patientrightsandresponsibilities.aspx.

          45.     Brandywine Hospital further assures patients, such as Plaintiff and members of the

proposed Class, of its “Pledge Regarding Medical Information,” stating that “[w]e understand that

medical information about you and your health care is personal. We are committed to protecting

medical     information   about   you.”      See   http://www.brandywinehospital.com/brandywine-

hospital/hipaa1.aspx.

          46.     These agreements to protect Plaintiff’s and the proposed Class members’ patient

identification data were a value added to the services provided by Defendants’ health care providers

that were considered a benefit of the bargain for which Plaintiff and the proposed Class members paid

adequate consideration.

          47.     A portion of the consideration paid for healthcare by Plaintiff and the proposed Class

members was accepted by Defendants and was allocated to protecting and securing Plaintiff’s and the

proposed Class members’ patient identification data and ensuring HIPAA compliance. This allocation

was made for the purpose of offering patients and consumers, such as Plaintiff and the proposed Class

members, added value to the health care services provided by agreeing to protect their patient

identification data.

          48.     As a direct result of Defendant’s negligent failure to maintain reasonable and

adequate security procedures to protect against the theft of Plaintiff’s and the proposed Class

members’ patient identification data, and Defendants’ breach of their agreements to do so, Plaintiff

and the proposed Class members are at an increased and imminent risk of becoming victims of identity

theft crimes, fraud and abuse.

          49.     In addition, Plaintiff and the proposed Class members have spent, and will need to

spend, considerable time and money to protect themselves as a result of Defendants’ conduct.

                                                   10
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 11 of 23



                                 CLASS ACTION ALLEGATIONS

        50.       Plaintiff brings this action as a Class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on her own behalf and on behalf of all similarly situated persons, defined as follows:

                All persons in the United States whose patient identification data was
                contained in or on Defendants’ computer network, whose patient
                identification data was misappropriated as a result of the Data Breach.

        51.       Plaintiff is a member of the Class she seeks to represent.

        52.       The Class is so numerous that joinder of all members is impracticable, as

approximately four and one-half (4.5) million individuals’ patient identification data has been

compromised.

        53.       The members of the Class are individuals who were referred for or received services

from physicians affiliated with Defendants.        As such, the members of the Class are readily

ascertainable, as they can be identified by records maintained by Defendants. Notice can be provided

by means permissible under Rule 23.

        54.       Plaintiff’s claims are typical of the claims of all members of the Class. Specifically,

Plaintiff’s and Class members’ claims arise from Defendants’ failure to install and maintain reasonable

security measures, and to implement appropriate policies, to protect Plaintiff’s and Class members’

patient identification data.

        55.       The conduct of Defendants has caused injury and/or imminent threat of injury to

Plaintiff and members of the Class.

        56.       Prosecuting separate actions by individual Class members would create a risk of

inconsistent or varying adjudications that would establish incompatible standards of conduct for

Defendants.

        57.       Plaintiff will fairly and adequately represent the interests of the Class. Plaintiff has

no interests antagonistic to or in conflict with those of the proposed Class members and therefore is

                                                   11
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 12 of 23



an adequate representative for the proposed Class members.

        58.      Plaintiff is represented by experienced counsel who are qualified to litigate this case.

        59.      Common questions of law and fact predominate over individualized questions. A

Class action is superior to all other available methods for the fair and efficient adjudication of this

controversy.

        60.      There are questions of law and fact common to all members of the Class, the answers

to which will advance the resolution of the claims of the Class members and that include, without

limitation:

        a)     Whether Defendants failed to provide adequate security and/or protection for their

               computer systems containing Plaintiff’s and the proposed Class members’ patient

               identification data;

        b)     Whether Defendants owed a legal duty to Plaintiff and the proposed Class members

               to protect their personal and financial information and whether Defendants breached

               this duty;

        c)     Whether the conduct of Defendants resulted in the unauthorized breach of their

               computer systems containing Plaintiff’s and the proposed Class members’ patient

               identification data;

        d)     Whether Plaintiff and the proposed Class members have been injured by Defendants’

               conduct;

        e)     Whether Plaintiff and Class members are at an increased risk of identity theft as a result

               of Defendants’ failure to protect Plaintiff’s and the proposed Class members’ patient

               identification data;

        f)     Whether Defendants were negligent;

        g)     Whether Defendants are in breach of contract;

                                                  12
             Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 13 of 23



        h)       Whether Plaintiff and the proposed Class members are entitled to injunctive relief; and

        i)       Whether Plaintiff and the proposed Class members are entitled to damages, and the

                 measure of such damages.

                                               COUNT I
                                             NEGLIGENCE

        61.       Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        62.       Defendants had a duty to exercise reasonable care to protect and secure Plaintiff’s

and the proposed Class members’ patient identification data within its possession or control from

being compromised, lost, stolen, misused, and/or disclosed to unauthorized parties. This highly

confidential patient identification data includes but is not limited to patient names, addresses,

birthdates, telephone numbers, Social Security numbers, and other personal information.

        63.       Defendants’ duty included, among other things, designing, maintaining, and testing

their security systems to ensure that Plaintiff’s and the proposed Class members’ patient identification

data in their possession was adequately secured and protected.

        64.       Defendants further had a duty to implement processes that would detect a breach of

their security systems in a timely manner.

        65.       Through their acts or omissions, Defendants breached their duty to use reasonable

care to protect and secure Plaintiff’s and the proposed Class members’ patient identification data

within their possession or control. Defendants breached their duty by failing to adopt, implement,

and maintain adequate security measures to safeguard Plaintiff’s and proposed Class members’ patient

identification data, failing to adequately monitor the security of their networks, allowing unauthorized

access to Plaintiff’s and the proposed Class members’ patient identification data, and failing to

recognize in a timely manner that Plaintiff’s and proposed Class members’ patient identification data

had been compromised.
                                                   13
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 14 of 23



        66.        Defendants’ failure to comply with widespread industry standards relating to data

security, as well as the delay between the date of the intrusion and the date Plaintiff and proposed

Class members were informed of the Data Breach, further evince Defendants’ negligence in failing to

exercise reasonable care in safeguarding and protecting Plaintiff’s and the proposed Class members’

patient identification data in their possession or control.

        67.        But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff

and the proposed Class members, the Data Breach would not have occurred and Plaintiff’s and the

proposed Class members’ patient identification data would not have been compromised.

        68.        The injury and harm suffered by Plaintiff and the proposed Class members was the

reasonably foreseeable result of Defendants’ failure to exercise reasonable care in safeguarding and

protecting Plaintiff’s and the proposed Class members’ patient identification data in their possession

or control. Defendants knew or should have known that their systems and technologies for processing

and securing Plaintiff’s and proposed Class members’ patient identification data had security

vulnerabilities.

        69.        Plaintiff is part of a well-defined foreseeable Class. Defendants’ liability is restricted

to a finite and discernable Class who were well-known and identifiable to Defendants before their

conduct caused the harm at issue. Members of the Class are persons who utilized services from

Defendants’ health care providers, meaning that the persons comprising the Class, their numbers, and

their potential to be harmed by Defendants’ negligent conduct all were predictable and reasonably

foreseeable.

        70.        The nature of the harm was also foreseeable. Defendants were aware, or should have

been aware, that the patient identification data provided by Plaintiff and Class members was frequently

the target of data breach crimes because that information was utilized to engage in identity theft. Being

aware of both the potential for attempted theft and the discernible class of persons who entrusted

                                                     14
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 15 of 23



Defendants with their valuable patient identification data, Defendants had a duty to ensure that they

protected that information.

        71.       Defendants’ negligent handling of Plaintiff’s sensitive information was the direct and

proximate cause of her foreseeable economic harm. Upon acquisition, Defendants had sole control

over the data and Plaintiff had no ability to protect her information. Consequently, Defendants were

in the best and only position to safeguard the information. Defendants failed in this regard and

negligently allowed third party hackers to access their servers and remove Plaintiff’s information.

Thus, Defendants’ negligence directly made available Plaintiff’s personal information and therefore

was a direct cause of Plaintiff’s and all proposed Class members’ harm.

        72.       As a result of Defendants’ negligence, Plaintiff and the proposed Class members have

suffered actual damages including but not limited to expenses for credit monitoring, lost work time,

anxiety, emotional distress, loss of privacy, and other economic and non-economic harm.

        73.       As a result of Defendants’ negligence, Plaintiff and the proposed Class members are

at an increased and imminent risk of becoming victims of identity theft crimes, fraud and abuse.

                                         COUNT II
                                    BREACH OF CONTRACT

        74.       Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        75.       Defendants came into possession of Plaintiff’s and the proposed Class members’

patient identification data through their subsidiary and other relationships with the health care

providers of Plaintiff and the proposed Class members.

        76.       Defendants contracted with Plaintiff and the proposed Class members to protect

such information.

        77.       The written agreement between Defendants and Plaintiff and the proposed Class

members expressly required Defendants to safeguard and protect Plaintiff’s and the proposed Class
                                                   15
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 16 of 23



members’ patient identification data from being compromised and/or stolen. In the agreement the

Defendants also promised to comply with HIPAA and its implementing regulations and only to

disclose Plaintiff’s and the proposed Class members’ patient identification information when required

to do so by federal and/or state law.

        78.      Plaintiff and the proposed Class members were direct beneficiaries of the contract

between themselves and Defendants, and Defendants owed a direct duty of care to them.

        79.      To the extent that an express contract was not created by the written agreement, an

implied contract was created when Plaintiff and the proposed Class members disclosed their patient

identification data to Defendants in exchange for healthcare, for which Plaintiff and the proposed

Class members then paid.

        80.      Plaintiff and the proposed members of the Class would not have disclosed such

information without assurance that Defendants would maintain sufficient security measure to prevent

its unauthorized access, theft, or otherwise improper disclosure.

        81.      Plaintiff and the proposed members of the Class also disclosed such information for

the benefit of Defendants.

        82.      Thus, the provision of the patient identification information by Plaintiff and the

proposed members of the Class and Defendants acceptance, created an implied contract whereby

Defendant had a duty to safeguard and protect the information of Plaintiff and the proposed members

of the Class.

        83.      Defendants did not safeguard or protect Plaintiff’s and the proposed Class members’

personal identification data from being accessed, compromised, and/or stolen. Defendants did not

maintain sufficient security measures and procedures to prevent unauthorized access to Plaintiff’s and

the proposed Class members’ patient identification data.

        84.      Because Defendants failed to safeguard and/or protect Plaintiff’s and the proposed

                                                  16
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 17 of 23



Class members’ patient identification data from being compromised or stolen, Defendants breached

their contracts with Plaintiff and the proposed Class members.

        85.       Plaintiff and the proposed Class members have suffered and will continue to suffer

damages as the result of Defendants’ breach.

                                           COUNT III
                                       NEGLIGENCE PER SE

        86.       Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        87.       HIPAA was designed to protect the privacy of personal medical information by

limiting is disclosure.

        88.       HIPAA seeks to protect the privacy of protected patient identification data by

prohibiting any voluntary or involuntary use or disclosure of such data in violation of the directives

set out in the statute and its regulations.

        89.       As described above, Defendants violated HIPAA by failing to maintain the

confidentiality of their protected patient identification data.

        90.       Plaintiff and the proposed Class members have suffered harm, including but not

limited to expenses for credit monitoring, lost work time, anxiety, emotional distress, loss of privacy,

and other economic and non-economic harm, as well as an being placed at an increased and imminent

risk of becoming victims of identity theft crimes, fraud and abuse as a result of Defendants’ violation.

        91.       Plaintiff and the proposed Class members are persons whom Congress intended to

be protected by HIPAA.

        92.       Defendant is a HIPAA covered entity.

        93.       The records stolen from Plaintiff and other Class members are the types of records

HIPAA was created to protect.

        94.       The injuries suffered by Plaintiff and the proposed Class members were directly and
                                                    17
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 18 of 23



proximately caused by Defendants’ violation of HIPAA.

        95.       Defendants’ violation of HIPAA thus constitutes negligence per se and Plaintiff and

the proposed Class members are entitled to recover damages in an amount to be proven at trial.

                                            COUNT IV
                                            BAILMENT

        96.       Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        97.       Plaintiff and the proposed Class members delivered their patient identification data

to Defendants in order to receive health care services from Defendants’ affiliated health care

providers.

        98.       This patient identification data was furnished to Defendants for the exclusive

purpose of administering and managing health care services delivered by Defendants’ affiliated health

care providers and Defendants took possession of the patient identification data for the same reason.

        99.       Upon delivery, Plaintiff and the proposed Class members intended and understood

that Defendants would adequately safeguard their patient identification data and Defendants, in

accepted possession, understood the expectations of Plaintiff and the proposed Class members.

Accordingly, bailment was established for the mutual benefit of the parties at the time of delivery and

acceptance of possession.

        100.      Pursuant to the bailment arrangement, Defendants owed Plaintiff and the proposed

Class members a duty of reasonable care in safeguarding and protecting their patient identification

data.

        101.      This duty was breached by Defendants’ failure to take adequate steps to cure the

deficiencies in their security protocols and Defendants’ failure to conform to best practices and

industry standards to prevent unauthorized access to Plaintiff’s and the proposed Class members’

patient identification data.
                                                  18
          Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 19 of 23



        102.      As a direct proximate result of Defendants’ breach, the patient identification data of

Plaintiff and the proposed Class members was exposed to third parties and thereafter stolen, resulting

in damage to the personal identities of Plaintiff and the proposed Class members.

                                          COUNT V
                                     UNJUST ENRICHMENT

        103.      Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        104.      Plaintiff brings this Count V in the alternative to her claim for breach of contract.

        105.      Defendants received payment from Plaintiff and the proposed Class members to

perform services that included protecting Plaintiff’s and the proposed Class members’ patient

identification data.

        106.      Defendants did not protect Plaintiff’s and the proposed Class members’ patient

identification data, but retained Plaintiff’s and the proposed Class members’ payments.

        107.      Defendants retained the benefits of Plaintiff’s and the proposed Class members’

payments under circumstances which rendered it inequitable and unjust for Defendants to retain such

benefits without paying for their value.

        108.      Defendants have knowledge of said benefits.

        109.      As a result, Plaintiff and the proposed Class members have been proximately harmed

and/or injured.

                                 COUNT VI
            WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

        110.      Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        111.      The Fair Credit Reporting Act (“FCRA”) “require[s] consumer reporting agencies

[to] adopt reasonable procedures for meeting the needs of commerce for consumer credit, personnel,

                                                   19
           Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 20 of 23



insurance, and other information in a manner which is fair and equitable to the consumer, with regard

to the confidentiality, accuracy, relevancy, and proper utilization of such information.” 15 U.S.C. §

1681(b).

       112.      The FCRA protects the disclosure of medical information and only allows

dissemination in a limited number of circumstances. See 15 U.S.C. §1681a(d)(3); § 1681b(g); §

1681(a)(6).

       113.      Plaintiff’s and the proposed Class members’ patient identification data constitutes

“medical information” for purposes of the FCRA.

       114.      Defendants are “consumer reporting agencies” because “for monetary fees, dues,

[and/]or on a cooperative nonprofit basis, [they] regularly engage[] in whole or in part in the practice

of assembling or evaluating consumer credit information or other information on consumers for the

purpose of furnishing consumer reports to third parties, and [] use . . . interstate commerce for the

purpose of preparing or furnishing consumer reports.” 15 U.S.C. § 1681a(f).

       115.      Defendants’ collection of Plaintiff’s and the proposed Class member’s patient

identification data and subsequent transmission and communication of the same constitutes as a

“consumer report” because the information collected “bear[s] on a consumer's credit worthiness,

credit standing, credit capacity, character, general reputation, personal characteristics, or mode of

living” and “is used or expected to be used or collected in whole or in part for the purpose of serving

as a factor in establishing the consumer's eligibility for credit or insurance to be used primarily for

personal, family, or household purposes.” 15 U.S.C. § 1681a(d)(1).

        116.     Defendants, as consumer reporting agencies, were required (and still are required) to

put in place and maintain procedures that would protect the patient identification data of Plaintiff and

the proposed members of the Class and limit its disclosure exclusively to those situations outlined in

the FCRA. Defendants failed to put in place and/or maintain the requisite procedures and thereby

                                                  20
           Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 21 of 23



caused Plaintiff’s and the proposed Class members’ information to be disclosed in violation of the

FCRA, directly resulting in the theft and wrongful dissemination of that information.

        117.      Defendants’ violation was willful and/or reckless and has directly caused (and

continues to cause) damage to Plaintiff and the Class including cost of credit monitoring and identity-

theft insurance, other out-of pocket expenses, identity theft, loss of privacy, and other economic and

non-economic damages.

        118.      Thus, Plaintiff and the Class are entitled to statutory damages, non-statutory damages

in an amount to be proven at trial, and attorneys’ fees.

                              COUNT VII
         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT

        119.      Plaintiff incorporates and re-alleges each and every allegation contained above as if

fully set forth herein.

        120.      In the alternative, Defendants negligently violated the FCRA by failing to put in place

and maintain procedures designed to protect Plaintiff’s and the proposed Class members’ patient

identification data and limit its disclosure solely to the situations outlined in the FCRA.

        121.      As described above, this failure proximately caused the theft and wrongful

dissemination of the protected patient identification information.

        122.      It was reasonably foreseeable that Defendants failure to put in place and maintain

procedures to protect and limit the disclosure of Plaintiff’s and the proposed Class members’ patient

identification data would result in the theft, unlawful dissemination and/or wrongful disclosure of the

data.

        123.      Defendants’ violation was negligent and has directly caused (and continues to cause)

damage to Plaintiff and the Class including cost of credit monitoring and identity-theft insurance,

other out-of pocket expenses, identity theft, loss of privacy, and other economic and non-economic

damages.
                                                   21
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 22 of 23



       124.      Thus, Plaintiff and the Class are entitled to statutory damages, non-statutory damages

in an amount to be proven at trial and attorneys’ fees.

                                     PRAYER FOR RELIEF

       125.      Plaintiff requests that this Court enter judgment against Defendants and in favor of

Plaintiff and the proposed Class members and award the following relief:

       a)      That this action be certified as a Class action pursuant to Rule 23 of the Federal Rules

               of Civil Procedure, declaring Plaintiff as the representative of the Class and Plaintiff’s

               counsel as counsel for the Class;

       b)      Monetary damages;

       c)      Injunctive relief, including but not limited to the provision of credit monitoring

               services for Plaintiff and the proposed Class members for a period of at least twenty-

               five (25) years, the provision of bank monitoring services for Plaintiff and the

               proposed Class members for a period of at least twenty-five (25) years, the provision

               of credit restoration services for Plaintiff and the proposed Class members for a

               period of at least twenty- five (25) years, and the provision of identity theft insurance

               for Plaintiff and the proposed Class members for a period of at least twenty-five (25)

               years;

       d)      Reasonable attorneys’ fees and expenses, including those related to experts and

               consultants;

       e)      Costs;

       f)      Pre and post judgment interest;

       g)      Such other relief as this Court may deem just and proper.

                                         JURY DEMAND

       126.      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, individually and on behalf of the Class,

                                                   22
         Case 2:15-cv-00483-KOB Document 1 Filed 03/05/15 Page 23 of 23



seeks to represent, demands a trial by jury for all issues so triable.

Dated: March 05, 2015                        By: /s/ ___________________
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                                                    23
